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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
                                 NEW HAVEN DIVISION

 CHARTER COMMUNICATIONS, INC.,                   )
                                                 )
        Plaintiff,                               )
                                                 )
                v.                               )     CASE NO: 3:25-cv-00025-SFR
                                                 )
 PRASHANTH MYLA,                                 )
                                                 )
        Defendant.                               )     April 17, 2025
                                                 )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Charter Communications,

Inc. (“Charter”) and Defendant Prashanth Myla (“Myla”) hereby agree to voluntarily dismiss this

action, in its entirety, with prejudice, including Charter’s claims and Myla’s counterclaim. The

Parties, accordingly, submit this Joint Stipulation of Dismissal with Prejudice, with each party to

bear its own attorneys’ fees and costs.

Dated: April 17, 2025

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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 17, 2025, the foregoing was filed electronically in the
CM/ECF system and served on all registered participants as identified on the Notice of Electronic
Filing.




                                            s/ Nathan D. Chapman
                                            Nathan D. Chapman




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